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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

A.O.A., et al.,                            )
                                           )
           Plaintiffs,                     )
                                           )
      v.                                   )          Case No. 4:11 CV 44 CDP
                                           )
IRA L. RENNERT, et al.,                    )
                                           )
           Defendants.                     )

                          MEMORANDUM AND ORDER

      Upon due consideration of the parties’ October 8, 2024, Joint Status Report

(ECF 1422) and their opposing motions to dismiss (ECF 1364, 1375), I conclude that

it is appropriate to dismiss with prejudice those plaintiffs who have wholly failed to

produce any Plaintiff Profile Sheets (PPSs) as more than six years have passed since

those plaintiffs have filed their cases and joined this litigation, and no reasonable

excuse justifies their failure to comply with the Court’s directives to produce their

PPSs. To the extent plaintiffs provide specific reasons for two identified plaintiffs’

noncompliance (see ECF 1376-3), I note that the recent Joint Status Report does not

include those individuals among those who have continued to fail to produce their

PPSs. To the extent plaintiffs otherwise provide general reasons for noncompliance

(see ECF 1376 at p. 6), it does not appear that those general obstacles prevented other

plaintiffs from complying with the Court’s directive to produce PPSs during the
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relevant period.

      I will not dismiss those plaintiffs who have failed to produce notarized

Supplemental PPSs. Defendants contend that the “upshot” of the method of PPS

production in this case renders the PPSs akin to interrogatory answers under Federal

Rule of Civil Procedure 33, whose supplementation must be signed under oath.

While there was an agreement that the PPSs would satisfy plaintiffs’ Rule 26(a)

disclosure requirement (see ECF 104 – Mar. 20, 2013, Status Conf. Tr. at pp. 41-43),

I am aware of no agreement that the PPSs would be treated as answers to

interrogatories. (See ECF 100 – Mar. 18, 2013, Jt. Stat. Rep. at p. 1 (defendants’

statement that notarization was for purposes of verifying identity of individual

plaintiffs; no mention of Rule 33 requirements); ECF 104 – Mar. 20, 2013, Status

Conf. Tr.) Regardless, given the lack of mutual understanding as to whether

supplemental PPSs were required to be notarized, I will not dismiss those plaintiffs

who have failed to produce them.

      Accordingly,

      IT IS HEREBY ORDERED that defendants’ Motion to Dismiss for Failure to

Prosecute by Producing Profile Sheets [1364] and plaintiffs’ Motion for Voluntary

Dismissal [1375] are GRANTED in part and DENIED in part.

     IT IS FURTHER ORDERED that the following thirty-seven (37) plaintiffs are

dismissed from this action with prejudice for failure to produce any Plaintiff Profile



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Sheet as directed by various Orders of this Court:1



No.      Plf ID                  Plaintiff Name                    Initials   Member Case No.
 1       1073                                                       AJBF      4:18 CV 585
 2       1028        Castro Torres, Luis Fernando                   LFCT      4:16 CV 1731
 3       1029        Castro Torres, Simone Victoria                 SVCT      4:18 CV 585
 4       1369        CC, XS                                        XSCC       4:18 CV 575
 5       1363        CG, LE                                        LECG       4:18 CV 575
 6       1035                                                       NCQ       4:18 CV 575
 7       1046        Damian Pablo, Miguel Jesus                     MJDP      4:18 CV 585
 8       1060        Espinoza Solano, Brayan Jhoan                  BJES      4:16 CV 1731
 9       1202                                                      JMGR       4:18 CV 585
10       1086                                                       JPGS      4:18 CV 575
11       1373        Hinostroza Porras, Edu Carlos                  ECHP      4:18 CV 575
12       1374        HP, L                                           LHP      4:18 CV 575
13        1111       Jimenez Torre, Arnold De’nield                 ADJT      4:16 CV 1731
14        1112       Jimenez Torre, Shantal Estefani                SEJT      4:16 CV 1731
15       1378        Leon Camavilca, Andrea Cristal                ACLC       4:18 CV 575
16        1141       Miranda Cirineo, Michel Jhonatan              MJMC       4:16 CV 1731
17       1305                                                      MNMP       4:15 CV 705
18       1304        Moya Pilco, Maricielo                          MMP       4:15 CV 705
19        1162                                                     GNPM       4:18 CV 575
20        1163                                                      JJPM      4:18 CV 575
21        1164       Paredes Miranda, Sheyla Sadit                  SSPM      4:16 CV 1731
22        1176                                                      JCPP      4:18 CV 594
23       1383        QG, RS                                        RSQG       4:18 CV 575
24        1211       Rivera Casimiro, Waldir Alexis                WARC       4:16 CV 1731
25       1310        Rivera Pilco, Sebastian                         SRP      4:15 CV 705
26       1220        Rojas Rivera, Luis Dayton                     LDRR       4:16 CV 1731
27       1221        Rojas Rivera, Roslyn Elizabeth                 RERR      4:16 CV 1731
28       1225                                                       GPRZ      4:18 CV 575
29       1030        Romero Chavez, Keler Leonidas                 KLRC       4:16 CV 1731
30       1230                                                      GORP       4:18 CV 575

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 The following list was provided by the parties in their Joint Status Report filed October 8, 2024
(ECF 1422). I have redacted the names of those plaintiffs whose full names are included in the
Joint Status Report but who remain identified by only their initials on the respective docket sheets.


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31      1231     Salcedo Moreno, Kevin Cristhian          KCSM     4:18 CV 585
32      1237     Santa Cruz Zevallos, Kevin Johan         KJSCZ    4:16 CV 1731
33      1393                                              DFSC     4:18 CV 575
34      1394     SP, FE                                   FESP     4:18 CV 575
35      1397     SQ, CE                                   CESQ     4:18 CV 575
36      1261     Torres Rosales, May Dewitt               MDTR     4:16 CV 1731
37      1262                                              NKTR     4:18 CV 585




      No other plaintiffs are dismissed from this action at this time.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE


Dated this 1st day of November, 2024.




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